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                        IN THE LINITED STATES DISTRICT COURT
                                       FOR TI-IE DISTRICT OF HAWAII

 OLYMPUS INSURANCE COMPANY,                          CIVILNO. CV 17-00254 HG-KJM
                                                     (Declaratory Judgment)

                   Plaintiff,PLAINTIFF OLYMPUS INSURANCE
                             COMPANY' S MEMORANDT]N4 IN
                             RESPONSE TO DEFENDANT-
     VS.
                             INTERVENOR LINITED STATE,S
                             SERVICES AUTOMOBILE
                                                   TO
 CARA BARBER; OHANA MILITARY ASSOCIATION'S MOTION
                                                     (continued on next page)
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 COMMLINITIES, LLC; FOREST CITY INTERVENE, FILED MARCH 23,
 RESIDENTIAL MANAGE,MENT,       2018; CERTIFICATE OF SERVICE
 INC.,
                                Hearing Date: May 3,2018
             Defendants.
                                               Time: 10:00 a.m.
                                               Judge: Honorable Kenneth J. Mansfield


  PLAINTIFF OLYMPUS INSURANCE COMPANY'S MEMORANDUM IN
     RESPONSE TO DEFENDANT INTERVENOR UNITED STATES
           AUTOM       ASSOCIATIO        NTO

       Plaintiff OLYMPUS INSURANCE COMPANY ("Olympus"), by and

 through its attorneys, Tom Petrus & Miller, LLLC and Colodny Fass, submits this

 response to the Motion to Intervene which has been filed by United Services

 Automobile Association ("USAA")

       The instant action is a claim for declaratory relief by Olympus which issued

 to Defendant CARA BARBER ("Barber") a policy of homeowners' insurance,

 Policy No. OL3015t723 (the "PolicY"), by which Olympus agreed to insure the

 real properly located at 1885 Forest Glen Wuy, St. Augustine, FL 32092, and to

 provide liability insurance to Barber, subject to the terms, conditions and

 exclusions in the Policy. To the extent that USAA is also an insurer for Barber,

 USAA meets the criteria for intervention under FRCP 2a@) artdlor 24(b), and

 Olympus has no objection to the proposed intervention.

       However, the Memorandum in Support of Motion to Intervene contains

 mischaracterizations conÇerning the nature of the coverage provided by USAA.



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 The Olympus Policy which is the subject of this declaratory relief action was in

 effect from July 22,2015 until September 2,2016, at which time the Policy was

 cancelled by Barber. LJSAA states in its Memorandum that     it issued a policy to

 Barber which is "excess" to the Olympus Policy. Based on information provided

 by USAA's counsel, the USAA Umbrella Liability policy covers the policy period

 commenÇing September 2,2016 to September 2,2017 , effectively beginning once

 the Barber's cancelled their policy of insurance with Olympus. Since the Olympus

 Policy was not in effect as of the date USAA issued the Umbrella Liability policy,

 USAA's policy cannot be excess to the Olympus Policy. Indeed, USAA         has


 provided information that after Barber cancelled the Olympus policy, USAA itself

 issued the underlying homeowners policy to Barber in addition to the Umbrella

 Liability Policy for the period from September 2,2016 to September 2,    2017    .




       Neveftheless, due to the ongoing nature of the internet publications at issue,

 USAA's coverage is potentially implicated by allegations against Barber in the

 underlyin gmatter, and as such, USAA is entitled to intervene in this declaratory

 relief action as a subsequent insurer for Barber. USAA is not excess to Olympus,

 and, as such, has no standing to assert that Olympus has somehow engaged in "bad

 faith" in connection with the Motion for Assignment of Similar Case which

 Olympus filed on August 9,201.7. (That Motion was granted over the objection of

 Barber). Accordingly, USAA's alleged lack of good faith and fair dealing by


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 Olympus are not proper grounds for intervention by USAA, are irelevant to the

 coverage conÇerns in this case, and USAA's arguments to that effect should be

 disregarded by the Court

       Dated:      Honolulu,   Hawaii,         APR Û 6 2018



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